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                                                                                             EXHIBIT
                                                                                     j         4

                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                   Central Division
STONE WORKS, LLC,                                     )
                                                      )
                       Plaintiff,                     )
                                                      )
v.                                                    )      Case No. 4:21-CV-00941-JM
                                                      )
RANDY SIMS, MEGAN SIMS;                               )
WILLIAM THOMAS;                                       )
STONE CONCEPTS LLC;                                   )
MARTY HESCH; and EDWARD FRALEY,                       )
                                                      )
                       Defendants.                    )

                                    AFFIDAVIT OF RUSTY RAY

       I, Rusty Ray, state the following under oath and affirmation:

                                           Introduction

       1.      I am over the age of 18 years, and am a resident of Maumelle, Arkansas. I am

competent to testify, and I have personal knowledge of the facts stated in this Affidavit.

       2.      The primary purpose of this Affidavit is to provide additional evidence, as well as

address and rebut certain statements contained in the Declaration of Defendant Edward Fraley

that was attached as an exhibit to his Motion for Summary Judgment.

       3.      I am a partner and owner (33.33%) of Stone Works, a residential and commercial

masonry company with its principal office at 9625 Rowlett Drive, North Little Rock, AR 72113.

       4.      On or around 2005, Defendant Fraley recommended Stone Works to be the dealer

of Centurion Stone (hereinafter "Centurion") for Central Arkansas.

       5.      On various occasions in the time I have known Defendant Fraley, Fraley has

bragged to me that he would "smoke out" any business who did not run their business how he
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